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                             EXHIBIT 1




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7    ATTORNEYS FOR WASHOE COUNTY
     DEFENDANTS
8

9                               UNITED STATES DISTRICT COURT
10                                    DISTRICT OF NEVADA
11                                                ***
12   DREW RIBAR,
13                 Plaintiff,                            Case No. 3:24-CV-00526-ART-CLB
14          vs.
                                                         WASHOE COUNTY’S REQUESTS
15   WASHOE COUNTY, NEVADA;                              FOR ADMISSION TO PLAINTIFF,
     WASHOE COUNTY LIBRARY                               1st SET
16   SYSTEM; BUILD OUR CENTER, INC.;
     JEFF SCOTT; STACY MCKENZIE;
17   JONNICA BOWEN; LIBRARY
     EMPLOYEE DOE #1; JENNIFER COLE;
18   DEPUTY C. ROTHKIN (BADGE #5696);
     DEPUTY R. SAPIDA (BADGE #4663;
19   SGT. GEORGE GOMEZ (BADGE
     #4066); AND JOHN/JANE DOES 1+10,
20
                   Defendants.\                    /
21

22
            Defendants Washoe County, through counsel, Lindsay L. Liddell, Deputy District
23
     Attorney, pursuant to FRCP 36, hereby request that Plaintiff, Drew Ribar, admit or deny,
24
     within thirty (30) days after service of this request, the following requests. Please be warned
25
     that pursuant to FRCP 36, each matter is deemed conclusively admitted for purposes of this
26




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1    litigation unless, within 30 days after service of the request, you serve a written response for

2    each request, signed by you or your attorney.

3           As used in this Request, the terms “you” and “your” refer to the party to whom this

4    document is being directed.

5           As used herein, the term “WCLS” refers to the Washoe County Library System.

6           As used herein, the term “Sparks Library” refers to the Washoe County Library

7    branch location at 1125 12th Street, Sparks, Nevada 89431.

8           As used herein, the term “North Valleys Library” refers to the Washoe County

9    Library branch location at 1075 N Hills Ste 340, Reno, Nevada 89506.

10          As used herein, the term “South Valleys Library” refers to the Washoe County

11   Library branch location at 15650A Wedge Parkway, Reno, Nevada 89511.

12          As used herein, the term “Facebook” refers to the social media website,

13   facebook.com.

14          As used herein, the term “2024 WCLS Suspension” refers to the WCLS’s action of

15   suspending you from all WCLS properties for one year, as documented by WC0037-

16   WC0038, and subsequently upheld by three appellate levels more particularly described in

17   WC0037-WC0042, and WC0143-0149.

18          As used herein, the term “2023 RainbowFest” refers to the WCLS event to celebrate

19   Drag Story Hour, a library-sponsored event that included arts, crafts, music, food, and stories

20   on July 15, 2023, at the Sparks Library.

21          As used herein, the term “2024 RainbowFest” refers to the WCLS event to celebrate

22   Drag Story Hour, a library-sponsored event that included arts, crafts, music, food, and stories

23   on June 20, 2024, at the North Valleys Library.

24          “Complaint” means the Complaint filed in Ribar v. Washoe County, Nevada et al., case

25   no. 3:24-cv-00526-ART-CLB in the United States District Court for the District of Nevada,

26   ECF No. 1, and any amendments thereto.




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